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                            UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                     PORTLAND DIVISION



William X Nietzche (solely as trustee for
KRME International Trust),                                  Case No. 3:18-cv-1930-SI
William Kinney Jr.,
Julie Ann Metcalf Kinney,                                   CLARIFICATION RE CONFERRAL ON
                                                            PLAINTIFFS’ MOTION TO CURE
                          Plaintiff/Petitioner,             DEFECTS IN SERVICE OF PROCESS,
                                                            MOTION FOR EXTENSION OF TIME,
         v.                                                 AND MOTION TO CURE DEFECTS IN
                                                            EXHIBITS
FREEDOM HOME MORTGAGE
CORPORATION (FHMC),
MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS (MERS),
HSBC HOLDINGS PLC (HSBC),
HSBC FINANCE CORPORATION (HFC),
HSBC HOME EQUITY LOAN
CORPORATION I (HELCI),
BENEFICIAL OREGON INC. (BOI),
BENEFICIAL FINANCIAL 1 INC (BFI),
MTGLQ INVESTORS L.P. (MTGLQ),
GOLDMAN SACHS GROUP INC. (As owner
of MTGLQ),
RUSHMORE LOAN MANAGEMENT
SERVICES (RLMS),
U.S. BANK TRUST NA (As trustee for
securitized trust HSBC Trust HSBC Home
Equity Loan Trust 2005-1 Trust),
CLEAR RECON CORPORATION (CRC),
BARRISTERS SUPPORT SERVICES (BSS),

PAGE 1 -           CLARIFICATION RE CONFERRAL

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URBAN HOUSING DEVELOPMENT
(UHD),
UHD HOLDINGS (UHDH),
RAIN CITY CAPITAL OF OREGON LLC
(RCC),
ROMAN OZERUGA / Roman Ozeruga (in
both public and private capacities),
UNITED STATES CORPORATION
COMPANY,
STATE OF OREGON CORPORATION,
AND DOES 1 THROUGH 100 INCLUSIVE,

                        Defendants/Respondent(s).


         Defendants HSBC Holdings PLC (“HSBC Holdings”), HSBC Finance Corporation

(“HFC”), HSBC Home Equity Loan Corporation I (“HELCI”), Beneficial Oregon Inc. (“BOI”),

and Beneficial Financial I Inc. (“BFI”), (collectively “HSBC Defendants”) file this supplemental

pleading to clarify the statement of conferral on Plaintiffs’ most recent motions.

         On May 13, 2019 Plaintiffs William X Nietzche, William Kinney Jr., and Julie Ann

Metcalf Kinney, (collectively Plaintiffs), filed three motions: 1) Motion for Extension of Time to

File a Response to Defendant Beneficial Oregon Inc and HSBC Holdings PLC’s Motion to

Dismiss First Amended Verified Complain (ECF No. 116), 2) Motion to Cure Defects in Exhibits

Attached to Plaintiffs’ First Amended Complaint (ECF No. 117), and 3) Motion to Cure Any

Defects in Service of Process (ECF No. 118). In each of these three motions, Plaintiffs included

an identical LR 7-1 (a) Certification in each:

                   LR 7-1 CERTIFICATION

                   1. Plaintiffs certifies that before filing this motion, Plaintiffs
                   conferred in good faith with Counsel for defendants HSBC Holdings
                   PLC, HSBC Finance Corporation, HSBC Home Equity Loan
                   (collectively “HSBC”) and Beneficial Oregon, Inc, Beneficial
                   Financial 1 Inc., (collectively “Beneficial”).

                   2. Counsel for Defendants HSBC and Beneficial do not oppose this
                   motion.
(ECF Nos. 116, 117, and 118).



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         Plaintiffs’ statement of conferral is partially incorrect. Counsel for the HSBC Defendants

did confer with Plaintiffs on their Motion for Extension of Time on May 13, 2019. (Declaration of

Meryl Hulteng ¶ 2.) Counsel indicated that the HSBC Defendants do not oppose Plaintiffs’ request

for a 30-day extension of time to respond to the HSBC Defendants’ Motion to Dismiss. (Hulteng

Decl. ¶ 2). However, the parties did not discuss Plaintiffs’ other two motions, and as such counsel

did not indicate opposition or agreement on behalf of the HSBC Defendants. (Hulteng Decl. ¶ 2.)

Counsel confirmed in email on May 3, 2019 that the HSBC Defendants do not oppose Plaintiffs’

Motion for Extension of Time. (Hulteng Decl. ¶ 3, Ex. 1.)

         The HSBC Defendants oppose Plaintiffs’ Motion to Cure Defects in Service of Process.

(ECF No. 118.) HSBC Defendants maintain Plaintiffs are required to effect service in accordance

with the Federal Rules of Procedure. HSBC Defendants do not oppose Plaintiffs’ Motion to Cure

Defects in Exhibits Attached to Plaintiffs’ First Amended Complaint. (ECF No. 116.)

         DATED: May 15, 2019

                                                LANE POWELL PC



                                                By        /s/ Meryl Hulteng
                                                    Pilar C. French, OSB No. 962880
                                                    Meryl Hulteng, OSB No. 164065
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                                                Attorneys for Defendants HSBC Holdings PLC,
                                                HSBC Finance Corporation, HSBC Home Equity
                                                Loan Corporation I, Beneficial Oregon Inc., and
                                                Beneficial Financial I Inc.




PAGE 3 -           CLARIFICATION RE CONFERRAL

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                                 CERTIFICATE OF SERVICE

         I hereby certify that on May 15, 2019 I caused to be served a copy of the foregoing

CLARIFICATION RE CONFERRAL ON PLAINTIFFS’ MOTION TO CURE DEFECTS IN

SERVICE OF PROCESS, MOTION FOR EXTENSION OF TIME, AND MOTION TO CURE

DEFECTS IN EXHIBITS on the following person(s) in the manner indicated below at the

following address(es):

Julie A. Metcalf Kinney
c/o 4406 N. Mississippi Avenue
Portland, OR 97217

William Kinney, Jr
c/o 4406 N. Mississippi Avenue
Portland, OR 97217

William X. Nietzche
c/o 4406 N. Mississippi Avenue
Portland, OR 97217


      by CM/ECF
      by Electronic Mail (courtesy copy)
      by Electronic Mail (e-mail agreement in place)
      by Facsimile Transmission
      by First Class Mail
      by Hand Delivery
      by Overnight Delivery

                                                    /s/ Meryl Hulteng
                                                   Meryl Hulteng




PAGE 4 -           CERTIFICATE OF SERVICE

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